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 16    Attorneys for Defendants

 17                       UNITED STATES DISTRICT COURT
 18        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 19    MACOM TECHNOLOGY              Case No. CV 16-02859 CAS (PLAx)
       SOLUTIONS HOLDINGS, INC. and
 20    NITRONEX, LLC,               INFINEON TECHNOLOGIES
                                    AMERICAS CORP.’S NOTICE OF
 21                  Plaintiffs,    MOTION AND MOTION TO
                                    DISMISS PLAINTIFFS’
 22        v.                       COMPLAINT

 23    INFINEON TECHNOLOGIES AG, et            [Declarations and Exhibits thereto filed
       al.,                                    concurrently herewith; [Proposed]
 24                                            Order Granting Motion to Dismiss
                         Defendants.           lodged concurrently herewith]
 25                                            Hon. Christina A. Snyder
 26                                            Date: August 15, 2016
                                               Time: 10:00 a.m.
 27                                            Ctrm.: 5

 28
                                  INFINEON TECHNOLOGIES AMERICAS CORP.’S NOTICE OF MOTION
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  1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2          PLEASE TAKE NOTICE that on August 15, 2016, at 10:00 a.m., or as
  3    soon thereafter as this matter may be heard, in the courtroom of the Honorable
  4    Christina A. Snyder, located in the United States Courthouse, 312 N. Spring Street,
  5    Los Angeles, CA 90012, Infineon Technologies Americas Corp. (“Infineon
  6    Americas”) will and hereby do move this Court to dismiss the Complaint of
  7    Plaintiffs MACOM Technology Solutions Holdings, Inc. and Nitronex, LLC
  8    (collectively “MACOM”).
  9          This motion is based on the following grounds:
 10          First, MACOM’s complaint should be dismissed as to Infineon Americas
 11    because MACOM failed to effect sufficient process under Rule 12(b)(4) and
 12    sufficient service of process under Rule 12(b)(5).      MACOM’s complaint and
 13    summons in this case do not name Infineon Americas as a party. In addition, the
 14    complaint and summons list two other names (International Rectifier Corporation
 15    and Infineon Technologies Americas Corporation), and there were no entities with
 16    those names when the complaint was filed. Although MACOM’s attorneys were
 17    notified of these errors on June 29, 2016, MACOM has refused to amend its
 18    complaint to correct these errors.
 19          Second, MACOM’s claim for declaratory judgment of non-infringement
 20    should be dismissed under Rule 12(b)(1) because MACOM fails to establish that
 21    this Court has subject matter jurisdiction to adjudicate the claim. MACOM seeks a
 22    declaratory judgment of non-infringement for products it describes as
 23
 24                  In addition,
 25
 26                                                 .
 27          Third, MACOM’s claim for declaratory judgment of non-infringement
 28    should be dismissed as to Infineon Americas under Rule 12(b)(6) because
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   1   the grounds upon which it rests. As discussed above,
   2                                                          . As a result, MACOM does
   3   not provide fair notice
   4                                 .
   5         This Motion is based on this Notice of Motion; the accompanying
   6   Memorandum of Points and Authorities; the Declarations of Jeffery D. Baxter,
   7                 and                 ; and Exhibits thereto filed concurrently herewith.
   8         When the parties conferred on the extension of time requests in early June,
   9   counsel for Infineon AG and Infineon Americas notified MACOM’s counsel that
  10   Infineon AG and Infineon Americas would not agree to answer the complaint
  11   because the parties may file motions to dismiss. The parties discussed, by email
  12   and telephone, the grounds of Infineon AG and Infineon America’s motions to
  13   dismiss on Tuesday, July 5. Counsel for Infineon AG did not previously realize
  14   that it had to confer seven days before filing a motion to dismiss under L.R. 7-3.
  15   The parties could not reach a resolution and this Motion is opposed.
  16         .
  17
  18   DATED: July 5, 2016                  Respectfully submitted,
                                            CALDWELL LESLIE & PROCTOR, PC
  19                                        LINDA M. BURROW
  20                                        ALISON MACKENZIE

  21
  22
                                            By       /s/ Linda M. Burrow
  23                                             LINDA M. BURROW
  24                                        Attorneys for Defendants

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  1                                    INTRODUCTION
  2          Infineon Technologies Americas Corp. (“Infineon Americas”) moves to
  3    dismiss the complaint of Plaintiffs MACOM Technology Solutions Holdings, Inc.
  4    and Nitronex, LLC (collectively “MACOM”) because it suffers from multiple fatal
  5    defects. It names phantom legal entities even after counsel for MACOM was
  6    informed of this error. In addition, MACOM abusively seeks to invoke declaratory
  7    judgment jurisdiction to adjudicate non-infringement
  8
  9
 10
 11
 12                                           .
 13          First, the complaint and summons mistakenly name as defendants multiple
 14    legal entities when there were no legal entities with those names at the time of
 15    filing. In particular, when MACOM filed its complaint, there were no legal entities
 16    named “International Rectifier Corporation” or “Infineon Technologies Americas
 17    Corporation.”    When MACOM filed its complaint, International Rectifier
 18    Corporation had long since changed its name to Infineon Technologies Americas
 19    Corp. (“Infineon Americas”).      MACOM likely intended to sue that entity.
 20    MACOM also named “Infineon Technologies Americas Corporation,” but there
 21    was also no entity by that name when MACOM filed its complaint. Infineon
 22    Americas specifically chose “Corp.” as part of its corporate name rather than
 23    “Corporation”—something that is not uncommon for corporations with complicated
 24    structures. Counsel for Infineon Americas informed MACOM’s counsel of these
 25    errors (Ex. 1 (June 30, 2016 letter from Baxter to Tessar)) but MACOM refused to
 26    file an amended complaint (Ex. 2 (June 29, 2016 letter from Tessar to Baxter)).
 27    MACOM refused despite the fact that these mistakes could have been discerned by
 28    a simple review of a few public corporate records in the state of Delaware. Ex. 1.
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   1         Second, MACOM brings a declaratory judgment action of non-infringement
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   4                                                             —a defect that has caused
   5   other courts to dismiss for lack of subject matter jurisdiction.
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  13                         .
  14         Third, MACOM fails to state a claim upon which relief can be granted.
  15   Under Twombly, MACOM must provide fair notice of the what its claim is and the
  16   grounds for the claim. MACOM has done neither
  17
  18                  . Thus, there is no factual basis adequate to support a claim for
  19   declaratory judgment under Twombly.
  20                               STATEMENT OF FACTS
  21         A.       The named defendants
  22         MACOM’s complaint names three defendant parties: Infineon Technologies
  23   AG, Infineon Technologies Americas Corporation, and International Rectifier
  24   Corporation.
  25         Infineon Technologies AG is German corporation with its principal place of
  26   business in Germany.          Decl. at ¶ 2.
  27         International Rectifier Corporation was a Delaware corporation with its
  28   headquarters and principal place of business in California, but it now operates under
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   1    a different name, Infineon Technologies Americas Corp.                 Decl. at ¶ 3;
   2           Decl. at ¶ 5. On January 13, 2015, Infineon Technologies AG acquired
   3    International Rectifier Corporation, which became an indirect, wholly-owned
   4    subsidiary of Infineon Technologies AG.          Decl. at ¶ 3;        Decl. at 4. On
   5    October 1, 2015, the name of International Rectifier Corporation was changed to
   6    Infineon Technologies Americas Corp., in connection with a merger involving an
   7    affiliate, Infineon Technologies North America Corp.             Decl. at ¶ 4;
   8    Decl. at ¶ 5.
   9          There is no entity with the name Infineon Technologies Americas
  10    Corporation. The formal name of Infineon Americas is Infineon Technologies
  11    Americas Corp. (not Corporation).
  12          On June 29, 2016, Infineon Americas informed MACOM of the misnamed
  13    defendants and asked that MACOM file an amended complaint.               See Ex. 1.
  14    Counsel for Infineon Americas agreed to accept service of an amended complaint
  15    on behalf of Infineon Americas. In response to Infineon Americas’ letter, MACOM
  16    stated that it will not amend its complaint to name the proper party. See Ex. 2. As
  17    of the filing of this motion, MACOM has not filed an amended complaint naming
  18    Infineon Americas as a defendant.      MACOM has also not filed an amended
  19    complaint that deletes the misnamed entities, International Rectifier Corporation
  20    and Infineon Technologies Americas Corporation.
  21          B.        MACOM’s claim for declaratory judgment of non-infringement
  22          MACOM’s fourth claim for relief is for declaratory judgment of non-
  23    infringement.     Complaint at ¶¶ 154–162.
  24
  25                                                                                       .
  26    Complaint at ¶¶ 2, 60, 66. MACOM seeks a declaration of non-infringement
  27                                                                                       .
  28    Complaint at ¶ 162.
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   2                          .
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   6                              . Complaint at ¶ 99.
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   8            . Complaint at ¶¶ 5, 30–31.
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  15                                      . Complaint at ¶ 122.
  16                                  LEGAL STANDARDS
  17          A.    Insufficient process under Rule 12(b)(4) and insufficient service of
  18                process under Rule 12(b)(5)
  19          A party may move to dismiss a complaint for insufficient process under Rule
  20    12(b)(4) and for insufficient service of process under Rule 12(b)(5). Fed. R. Civ. P.
  21    12(b)(4) and 12(b)(5). Rule 12(b)(4) allows challenges to the form of the process,
  22    and Rule 12(b)(5) allows challenges to the manner or lack of service. Wasson v.
  23    Riverside County, 237 F.R.D. 423, 424 (C.D. Cal. 2006) (citing Charles A. Wright
  24    & Arthur R. Miller, Federal Practice and Procedure § 1353, pp. 334–35 (3d ed.
  25    2004)). Thus, a party may move to dismiss for insufficient process under Rule
  26    12(b)(4) when a summons fails to meet the requirements of Rule 4. One of the
  27    requirements of Rule 4 is that a summons must include the name of the parties and
  28    be directed to the defendant. See Fed. R. Civ. P. 4(a)(1). When a party receives a
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   1    complaint or summons that does not properly name the party, the party may also
   2    move to dismiss for insufficient service of process under Rule 12(b)(5). Charles A.
   3    Wright & Arthur R. Miller, Federal Practice and Procedure § 1353, pp. 334–35 (3d
   4    ed. 2004).
   5          B.     Lack of subject matter jurisdiction under Rule 12(b)(1)
   6          A party may move to dismiss a complaint for lack of subject matter
   7    jurisdiction under Rule 12(b)(1). Fed. R. Civ. P. 12(b)(1). A party moving to
   8    dismiss under Rule 12(b)(1) may make a facial attack on jurisdiction to challenge
   9    the sufficiency of the jurisdictional allegations in a complaint.       Safe Air for
  10    Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).
  11          Here, MACOM, as the party claiming declaratory judgment jurisdiction, has
  12    the burden of establishing that an Article III case or controversy existed at the time
  13    that the claim for declaratory relief was filed and that it has continued since.
  14    Benitec Austl., Ltd. v. Nucleonics, Inc., 495 F.3d 1340, 1344 (Fed. Cir. 2007). To
  15    satisfy the actual controversy requirement, the facts alleged must “show that there is
  16    a substantial controversy, between parties having adverse legal interests, of
  17    sufficient immediacy and reality to warrant the issuance of a declaratory judgment.”
  18    MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007).
  19          In the context of a declaratory judgment of non-infringement, jurisdiction
  20    must be evaluated on a product-by-product basis. Microsoft Corp. v. DataTern,
  21    Inc., 755 F.3d 899, 911 (Fed. Cir. 2014). Therefore, absent identification of the
  22    specific products accused of infringement or specific allegations of infringement,
  23    there is no substantial controversy to support jurisdiction. See Panavise Prods.,
  24    Inc. v. Nat’l Prods., Inc., 306 Fed. Appx. 570, 573 (Fed. Circ. 2009) (finding that
  25    plaintiff did not establish a substantial controversy because it simply alleged that a
  26    product potentially infringes a patent-in-suit but failed to present any evidence that
  27    it was similar to other products that the defendant accused of infringement); Essai,
  28    Inc. v. Delta Design, Inc., No. 3:13-cv-02356, 2013 WL 6248393, at *3 (N.D. Cal.
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   1    Dec. 3, 2013) (finding no substantial controversy because defendant did not accuse
   2    plaintiff’s products of infringement and plaintiff did not identify any particular
   3    product in its complaint); Unisense Fertilitech A/S v. Auxogyn, Inc., 896 F.Supp.2d
   4    822, 830 (N.D. Cal. 2012) (finding no substantial controversy because the
   5    defendant did not accuse a product of infringement); Excelstor Tech., Inc. v. Papst
   6    Licensing GMBH, No. C 09-2055, 2010 WL 2560481, at *6 (N.D. Cal. June 22,
   7    2010) (finding no substantial controversy because the plaintiff did not identify any
   8    product accused of infringement, did not explain why any particular product might
   9    be accused of infringement, and did not allege activity that would expose it to
  10    liability for infringement).
  11          C.     Failure to state claim upon which relief can be granted under
  12                 Rule 12(b)(6)
  13          A complaint may be dismissed for failure to state a claim upon which relief
  14    can be granted under Rule 12(b)(6). Fed. R. Civ. P. 12(b)(6). A complaint must
  15    “give the defendant fair notice of what the claim is and the grounds upon which it
  16    rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Even under the
  17    liberal pleading standard of Federal Rule of Civil Procedure 8(a)(2), “a plaintiff’s
  18    obligation to provide the grounds of his entitlement to relief requires more than
  19    labels and conclusions, and a formulaic recitation of the elements of a cause of
  20    action will not do.” Id. “To survive a motion to dismiss, a complaint must contain
  21    sufficient factual matter, accepted as true, to state a claim to relief that is plausible
  22    on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In the context of a
  23    declaratory judgment of non-infringement, the complaint must identify the specific
  24    products accused of infringement in order for the complaint to survive a motion to
  25    dismiss. See Wistron Corp. v. Phillip M. Adams & Assocs., No. 3:10-cv-04458,
  26    2011 WL 1654466, at *12 (N.D. Cal. April 28, 2011).
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   1                                         ARGUMENT
   2             Infineon Americas moves for dismissal on three different grounds. First,
   3    MACOM’s complaint should be dismissed because it does not name the intended
   4    party Infineon Americas. Second, MACOM’s claim for declaratory judgment of
   5    non-infringement should be dismissed for lack of subject matter jurisdiction. Third,
   6    the same claim for relief should also be dismissed for failure to state a claim upon
   7    which relief can be granted.
   8    I.       MACOM’s complaint should be dismissed because the complaint and
   9             summons do not name the intended party Infineon Americas and
  10             includes names when there were no entities with those names as of the
  11             date of filing of the complaint.
  12             MACOM’s complaint should be dismissed because the complaint does not
  13    name the intended party Infineon Americas.         As explained above, MACOM’s
  14    complaint names as defendants International Rectifier Corporation and Infineon
  15    Technologies Americas Corporation, but there were no legal entities with those
  16    names when MACOM filed its complaint. The summons also names these entities.
  17    Thus, both the complaint and summons are defective. Although MACOM likely
  18    intended to sue Infineon Americas, the complaint does not name Infineon
  19    Americas.1 Counsel for Infineon Americas informed MACOM of the misnamed
  20    defendants, asked that MACOM file an amended complaint, and agreed to accept
  21    service of an amended complaint on behalf of Infineon Americas. Ex. 1. In
  22    response, MACOM stated that it will not be filing an amended complaint. See
  23    Ex. 2.       As of the filing of this motion, MACOM has not filed an amended
  24
                 1
  25           These errors are not mere technical defects because MACOM failed to
        name the intended party in any filing before the court. See B.R. Guest, LLC v.
  26    SoCo Hospitality Group, LLC, No. C 13–00110 SI, 2013 WL 1800026, at *2 (N.D.
  27    Cal. 2013) (denying defendant’s motion to dismiss because plaintiff properly
        named the defendant in the civil cover sheet and in the body of the complaint).
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   1    complaint or summons naming Infineon Americas as a defendant and deleting the
   2    two misnamed entities.2     Because MACOM has refused to file an amended
   3    complaint, the Court should dismiss MACOM’s complaint for insufficient process
   4    under Rule 12(b)(4) and for insufficient service of process under Rule 12(b)(5).
   5    And because sufficient process is a prerequisite for personal jurisdiction, the
   6    Complaint may be dismissed for lack of personal jurisdiction as well.
   7          The Court should dismiss MACOM’s complaint for insufficient process
   8    under Rule 12(b)(4) and for insufficient service of process under Rule 12(b)(5).
   9    Rule 12(b)(4) allows challenges to the form of the process, and Rule 12(b)(5)
  10    allows challenges to the manner or lack of service. See Wasson v. Riverside Cty.,
  11    237 F.R.D. 423, 424 (C.D. Cal. 2006). As explained by one Court, “Although the
  12    distinction between Rule 12(b)(4) and 12(b)(5) motions is easy to state, the line
  13    between them becomes blurred when the alleged defect is that the defendant either
  14    is misnamed in the summons or has ceased to exist.” Shivers v. Akima Intra-Data,
  15    No. 2:07cv55, 2008 WL 3992669, at *3 (S.D. Miss. Aug. 21, 2008). Dismissal
  16    under both provisions may be appropriate. Id. Courts have dismissed cases where
  17    a legal entity did not exist as of the date of filing of the complaint because the
  18    summons misnamed the parties to be served—making the process defective.
  19    Roberts v. Hartman, No. SA–11–CA-1119-XR, 2012 WL 2254325, at *5 (W.D.
  20
  21          2
                MACOM should have corrected its mistake by filing an amended complaint
  22    naming Infineon Americas. See Jackson v. Duke, 259 F.2d 3, 7 (5th Cir. 1958)
  23    (affirming the district court’s decision to allow plaintiff to amend the complaint to
        correct a misnomer); Smith v. Holiday Retirement Corp., 2014 WL 4589807, *2–3
  24    (S.D. Ala. Sep. 11, 2014) (recommending that plaintiffs be given leave to file an
  25    amended complaint naming the proper party); Hilgraeve Corp. v. Symantec Corp.,
        212 F.R.D. 345, 349 (E.D. Mich. 2003); Mahran v. Benderson Development Co.,
  26    LLC, 2011 WL 1467368, *7 (W.D.N.Y. Apr. 18, 2011); Desai v. Tire Kingdom,
  27    Inc., 944 F.Supp. 876, 878 (M.D. Fla. 1996); Fields v. Norfolk & S. Ry. Co., 924 F.
        Supp. 2d 702, 707–08 (S.D.W. Va. 2012).
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   1    Tex., June 14, 2012) (dismissing complaint for misnaming corporation that had
   2    dissolved).
   3          In this case, MACOM named International Rectifier Corporation as a
   4    defendant, but no entity with that name existed as of the filing date of this case. “If
   5    a misnomer or mistake on the part of the Plaintiff constitutes a fatal defect, that is, a
   6    defect of substance and not merely one of form, the process would be void ab initio
   7    and ... there would be, as recognized by Rule 12(b), both insufficiency of process
   8    and insufficiency of service of process.” Int’l Fire and Safety, Inc. v. HC Servs.
   9    Inc., 2006 WL 2403496, *1 (S.D. Miss. Aug. 18, 2006). Because a non-existent
  10    party cannot be sued or served, process and service of process on a non-existent
  11    defendant is a fatal defect. See id; see also Carr v. Spherion, 2009 WL 3380007,
  12    *3 (W.D. La. Oct. 19, 2009) (granting motion to dismiss a non-existent defendant
  13    under Rule 12(b)(4) and 12(b)(5)). Accordingly, MACOM’s complaint should be
  14    dismissed as to International Rectifier Corporation. See Int’l Fire, at *1 (finding
  15    the proper relief for naming a non-existent entity as a defendant is dismissal of the
  16    complaint as to that non-existent entity). Additionally, because Infineon Americas
  17    is not named in the complaint or summons, while two entities (Infineon
  18    Technologies Americas Corporation and International Rectifier Corporation) are
  19    improperly named in both the summons and complaint, the form of the process
  20    does not comply with Rule 4(a)(1), which requires that the summons “name . . . the
  21    parties” and “be directed to the defendant.” For the same reason, MACOM never
  22    served a proper complaint and summons on Infineon Americas.
  23          These facts are analogous to Wasson v. Riverside County. In Wasson, the
  24    plaintiffs attempted to serve their complaint on a nonparty school district. Wasson,
  25    237 F.R.D. at 425, n. 1. In response, the school district filed a motion to dismiss
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   1    under Rules 12(b)(4) and 12(b)(5). The Central District of California held that the
   2    school district’s motion to dismiss should be granted on both grounds. Id. at 424.3
   3          Other courts have also dismissed complaints against misnamed parties under
   4    Rule 12(b)(4). Mitchell v. Potter, No. 05–5191, 2007 WL 1067631, at *5–*6
   5    (W.D. Ark. Apr. 9, 2007) (dismissing plaintiff’s claim under Rule 12(b)(4) for
   6    failure to name the correct party); Roberts v. Hartman, No. SA–11–CA-1119-XR,
   7    2012 WL 2254325, at *5 (W.D. Tex. June 14, 2012) (vacated on other grounds)
   8    (dismissing plaintiff’s claim under Rule 12(b)(4) because process was defective
   9    when the summons misnamed the parties to be served); Torrelio v. Evergreen
  10    Shipping Agency (Am.) Corp., No. 2:10–0857–MBS, 2011 WL 675043, at *3
  11    (D.S.C. Feb. 16, 2011) (dismissing the plaintiff’s claim under Rule 12(b)(4)
  12    because the plaintiff sued the wrong party).
  13          Similarly, courts have also dismissed complaints against misnamed parties
  14    under Rule 12(b)(5).    See Mitchell, 2007 WL 1067631, at *4–*6 (dismissing
  15    plaintiff’s claim under Rule 12(b)(5) for defective service); Snider v. Tolbert, No.
  16    94–840–FR, 1994 WL 519031, at *2, *4 (D. Or. Sept. 21, 1994) (granting
  17    defendants’ motions to dismiss under Rule 12(b)(5) because the individuals who
  18    were served were not named as defendants in the summons and there were no
  19    allegations in the complaint to support any claim against the individuals).
  20          MACOM’s summons is defective for three reasons. First, it does not name
  21    the intended party Infineon Americas. Second, it names International Rectifier
  22    Corporation when there was no entity by that name when the Complaint was filed.
  23    Third, it names Infineon Technologies Americas Corporation when no such entity
  24    existed when the complaint was filed. Any one of these defects standing alone
  25    justifies dismissal for misnaming the parties to be served. See Roberts v. Hartman,
  26
              3
  27             The court, however, ultimately decided to quash process rather than to
        dismiss the action against the school district because the school district was not a
  28    party to the action. Wasson, 237 F.R.D. at 424–25.
                                               - 10 -
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   1    2012 WL 2254325 at *5 (W.D. Tex., June 14, 2012). Thus, the complaint should
   2    be dismissed for insufficient process under Rule 12(b)(4) and for insufficient
   3    service of process under Rule 12(b)(5).4
   4          In addition, because Infineon Americas was not properly served, the Court
   5    also does not have personal jurisdiction over Infineon Americas, and thus,
   6    MACOM’s complaint against Infineon Americas should also be dismissed under
   7    Rule 12(b)(2) for lack of personal jurisdiction. Omni Capital Int'l, Ltd. v. Rudolf
   8    Wolff & Co., Ltd., 484 U.S. 97, 104 (1987) (“Before a federal court may exercise
   9    personal jurisdiction over a defendant, the procedural requirement of service of
  10    summons must be satisfied.”); In re Carthage Trust, No. 2:12-CV-10861-ODW,
  11    2013 WL 589208, at *2 (C.D. Cal. Feb. 14, 2013) (“A federal court lacks personal
  12    jurisdiction over a defendant if that defendant has not been served according to
  13    federal law.”). The same is true for the other two entities that were named but
  14    where there were no entities with those names when the Complaint was filed. For
  15    example, it is impossible for a Court to have personal jurisdiction over an entity
  16    that never existed.
  17          In its response letter refusing to file an amended complaint to correct the
  18    misnamed parties, MACOM argued that it does not need to file an amended
  19    complaint based on Grannis v. Ordean, 234 U.S. 385 (1914) and Cablevision of
  20    N.J., Inc. v. Pedolsky, 2007 WL 766350 (D. N.J. Mar. 8, 2007). Specifically,
  21    MACOM cites the following rule from Grannis: “If a defendant within the
  22    jurisdiction is served personally with process in which his name is misspelled, he
  23    cannot safely ignore it on account of the misnomer.” Ex. 2.
  24          Infineon Americas submits that MACOM’s interpretation of this rule is
  25    erroneous.   The court in Grannis explains that “[this] rule, established by an
  26    abundant weight of authority, is, that if a person is sued by the wrong name, and he
  27          4
                Alternatively, Infineon Americas requests that this court quash service of
  28    process on Infineon Technologies Americas Corp. See Wasson, 237 F.R.D. at 424.
                                              - 11 -
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   1    fails to appear and plead the misnomer in abatement, the judgment binds him.”
   2    Grannis, 234 U.S. at 395 (emphasis added). Thus, the rule cited by MACOM
   3    precludes a defendant from arguing post-default that the default judgment should be
   4    set aside because of a misnomer.      Importantly, the rule does not preclude a
   5    defendant from challenging the sufficiency of process and/or service of process
   6    based on a misnomer.      Contrary to the facts presented in Grannis, Infineon
   7    Americas has not sat idly by while the court entered a default judgment against it.
   8    Rather, Infineon Americas comes now before the court and pleads the misnomer in
   9    abatement. As such, MACOM’s reliance on Grannis and Cablevision is misguided.
  10    II.   MACOM’s claim for declaratory judgment of non-infringement should
  11          be dismissed for lack of subject matter jurisdiction.
  12          MACOM’s claim for declaratory judgment of non-infringement should be
  13    dismissed because MACOM’s complaint fails to allege sufficient facts to establish
  14    an actual controversy. MACOM does not establish an actual controversy
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  20                                                                                      .
  21          A.    MACOM cannot establish jurisdiction on a product-by-product
  22                basis                                                                .
  23          To establish jurisdiction for a declaratory judgment of non-infringement,
  24    MACOM must establish that there is an actual controversy on a product-by-product
  25    basis. MACOM cannot meet this burden
  26
  27
  28                                  . Complaint at ¶ 162.
                                             - 12 -
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   1          Jurisdiction and standing for a declaratory judgment of non-infringement
   2    must be evaluated on a product-by-product basis. Microsoft Corp. v. DataTern,
   3    Inc., 755 F.3d 899, 911 (Fed. Cir. 2014). Therefore, when a complaint fails to
   4    identify the specific products that are accused of infringement, the complaint fails
   5    to establish an actual controversy. See Essai, Inc. v. Delta Design, Inc., No. 3:13-
   6    cv-02356, 2013 WL 6248393, at *3 (N.D. Cal. Dec. 3, 2013) (finding no actual
   7    controversy because defendant did not accuse plaintiff’s products of infringement
   8    and plaintiff did not identify any particular product in its complaint); Excelstor
   9    Tech., Inc. v. Papst Licensing GMBH, No. C 09-2055, 2010 WL 2560481, at *6
  10    (N.D. Cal. June 22, 2010) (finding no substantial controversy because the plaintiff
  11    did not identify any product accused of infringement, did not explain why any
  12    particular product might be accused of infringement, and did not allege activity that
  13    would expose it to liability for infringement).
  14          In Essai, Inc. v. Delta Design, Inc., the Northern District of California
  15    dismissed a similar complaint for lack of subject matter jurisdiction. In Essai, the
  16    plaintiff filed a claim for declaratory judgment of non-infringement for its “thermal
  17    control units.”   Essai, 2013 WL 6248393, at *1.          Despite this reference to a
  18    category of products, the court dismissed the claim because the plaintiff did not
  19    identify “any particular product in its complaint for declaratory relief.” Id. at *3.
  20          Additionally, in Excelstor Tech., Inc. v. Papst Licensing GMBH, the
  21    Northern District of California dismissed another similar complaint for lack of
  22    subject matter jurisdiction. In Excelstor, the plaintiff sought a declaratory judgment
  23    of non-infringement for a patent covering hard drive technology. Excelstor, 2010
  24    WL 2560481, at *2. The court dismissed the claim because the plaintiff did not
  25    identify “any product that it makes or sells that has been accused of infringing [the
  26    patent], or explained why any particular product might be accused of infringing [the
  27    patent].”   Id. at *6.     Therefore, a claim for declaratory judgment of non-
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                                                 - 13 -
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   1    infringement is deficient when it does not identify a particular product accused of
   2    infringement.
   3          MACOM’s claim for declaratory judgment of non-infringement
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  10          B.     MACOM’s allegations do not show a substantial controversy
  11                                           .
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  16               Complaint at ¶ 99. As a result, MACOM cannot establish a controversy
  17                                 .
  18          To show a substantial controversy, MACOM must show “a real and
  19    immediate injury or threat of future injury that is caused by” the properly named
  20    defendant. MACOM, however, does not allege any facts
  21
  22
  23                                                                  . Complaint at ¶ 99.
  24
  25
  26                                     Complaint at ¶ 5, 30–31. As a result, MACOM’s
  27    allegations do not establish a substantial controversy.
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                                                   - 14 -
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   1          Courts have dismissed complaints in similar circumstances. In Panavise
   2    Products, Inc. v. National Products Inc., the Federal Circuit found that there was no
   3    substantial controversy when the plaintiff sought declaratory judgment of non-
   4    infringement for a mounting device that was not accused of infringement. Panavise
   5    Prods., Inc. v. Nat’l Prods. Inc., 306 Fed. Appx. 570, 572 (Fed. Cir. 2009). In that
   6    case, the plaintiff merely alleged that that mounting device “potentially” infringes a
   7    patent-in-suit, but the plaintiff presented no evidence that that mounting device was
   8    similar to other devices that the defendant accused of infringement. See Panavise,
   9    306 Fed. Appx. at 573.       The court explained that the plaintiff’s allegations
  10    amounted to nothing more than “assumptions about a threat of future injury” and
  11    dismissed the claim. Id.
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  16          In Unisense Fertilitech A/S v. Auxogyn, Inc., the Northern District of
  17    California found no substantial controversy because the defendants did not even
  18    suggest that one of plaintiff’s incubator products infringed a patent. Unisense
  19    Fertilitech A/S v. Auxogyn, Inc., 896 F.Supp.2d 822, 830 (N.D. Cal. 2012). Despite
  20    multiple letters exchanged between the parties, none of these letters suggested that
  21    the incubator product infringed a patent. Id. As a result, the court found that there
  22    was no substantial controversy established for the incubator product.
  23
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  27          In Excelstor Tech., Inc. v. Papst Licensing GMBH , the Northern District of
  28    California found no substantial controversy, because the plaintiff did not explain
                                              - 15 -
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   1    why any particular hard drive product might be accused of infringement and the
   2    plaintiff did not allege activity that would expose it to liability for infringement.
   3    Excelstor Tech., Inc. v. Papst Licensing GMBH, No. C 09-2055, 2010 WL
   4    2560481, at *6 (N.D. Cal. June 22, 2010).
   5
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  11                               Complaint at ¶ 99.
  12
  13                               Therefore, MACOM’s complaint fails to establish a
  14    substantial controversy.
  15           For these reasons, the Court should dismiss MACOM’s claim for declaratory
  16    judgment of non-infringement for lack of subject matter jurisdiction.
  17
  18
  19                                . The Court lacks jurisdiction to issue such an opinion.
  20    III.   MACOM’s claim for declaratory judgment of non-infringement should
  21           be dismissed for failure to state a claim upon which relief can be
  22           granted.
  23           MACOM’s claim for declaratory judgment of non-infringement should be
  24    dismissed because MACOM fails to state a claim upon which relief can be granted.
  25    MACOM must give Infineon Americas “fair notice of what the claim is and the
  26    grounds upon which it rests.’” Twombly, 550 U.S. at 555. MACOM’s complaint
  27    fails to provide fair notice
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                                                  - 16 -
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   2                                                                                         .
   3    Complaint, ¶ 162.
   4
   5                                                                          . As a result,
   6    MACOM has not provided Infineon Americas fair notice of MACOM’s claim, and
   7    MACOM’s claim should be dismissed.
   8          In Wistron Corp. v. Phillip M. Adams & Associates, the Northern District of
   9    California dismissed a claim for declaratory judgment of non-infringement because
  10    the complaint failed to identify the specific products at issue. Wistron Corp. v.
  11    Phillip M. Adams & Assocs., No. 3:10-cv-04458, 2011 WL 1654466, at *12 (N.D.
  12    Cal. April 28, 2011). The complaint identified various categories of products such
  13    as “notebook computers” and “computer chips, motherboards, computers and other
  14    products.”5 Id. at *1–*2. The Court, however, still found that the complaint failed
  15    to state a claim for declaratory relief on infringement because it failed to identify
  16    any specific product:
  17                [W]ithout identifying the accused products, there simply
                    is no way to adjudicate an infringement claim. Absent
  18                identification of the products accused of infringement,
                    there is no concrete case or controversy of sufficient
  19                specificity to satisfy Twombly.” Id.
  20    Id. at *12. Therefore, the court dismissed the declaratory judgment claim under
  21    Rule 12(b)(6).
  22          Similarly, in Xilinx, Inc. v. Invention Invest. Fund I LP, the Northern District
  23    of California again dismissed a claim for declaratory judgment of non-infringement
  24
              5
  25            This quoted list of products is from the defendants’ patent infringement
        complaint, which was included as an exhibit to plaintiff’s first amended complaint
  26    for declaratory judgment. Id. at *2. The defendants had filed their patent
  27    infringement complaint in another jurisdiction after the plaintiffs’ original
        complaint for declaratory judgment of non-infringement. Id.
  28
                                               - 17 -
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   1    because the complaint failed to identify the specific products at issue. Xilinx, Inc. v.
   2    Invention Inv. Fund I LP, No. C 11-0671, 2011 WL 3206686, at *6 (N.D. Cal. July
   3    27, 2011). The plaintiff identified a category of products (integrated circuits), but
   4    the court still found that the complaint failed to state a claim for declaratory relief
   5    on non-infringement because the plaintiff failed to identify a single accused
   6    product. Id.     The court stressed that “[i]n an action for declaratory judgment
   7    concerning claims for patent non-infringement, the pleading must specify the
   8    products or conduct alleged not to infringe . . . Without this level of specificity,
   9    there is no way to adjudicate an infringement or non-infringement claim.” Id.
  10    Therefore, a plaintiff fails to state a claim for declaratory judgment of non-
  11    infringement when the plaintiff merely identifies a category of products instead of
  12    identifying the specific products at issue.
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  18                                                                     .
  19                                       CONCLUSION
  20          Infineon Americas respectfully requests that the Court dismiss MACOM’s
  21    complaint because (a) neither the complaint nor the summons properly names
  22    Infineon Americas as a defendant, (b) the complaint and summons improperly
  23    name International Rectifier Corporation as a defendant, and/or (c) the complaint
  24    and summons improperly name Infineon Technologies Americas Corporation as a
  25    defendant. Additionally, Infineon Americas respectfully requests that the Court
  26    dismiss MACOM’s claim for declaratory judgment of non-infringement because
  27    MACOM fails to establish that the Court has subject matter jurisdiction to
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   1    adjudicate this claim and because MACOM fails to state a claim upon which relief
   2    can be granted.
   3
   4          Dated: July 5, 2016
   5                                          Submitted by:
   6                                          CALDWELL LESLIE & PROCTOR, PC
   7                                          LINDA M. BURROW
                                              ALISON MACKENZIE
   8
   9
                                                    /s/ Linda M. Burrow
  10                                             LINDA M. BURROW
                                                   Attorneys for Defendant
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